21-12075-dsj       Doc 25         Filed 01/04/22 Entered 01/04/22 09:11:42          Main Document
                                                Pg 1 of 6


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                  Chapter 11

JPA NO. 111 CO., LTD. and                               Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                        (Joint Administration Pending)

                         Debtors.1


           AFFIDAVIT OF SERVICE OF NOTICE OF HEARING AND DEBTORS'
          APPLICATION FOR ENTRY OF ORDERS: (I)(A) APPROVING BIDDING
          PROCEDURES RELATING TO THE SALE OF SUBSTANTIALLY ALL OF
             THE DEBTORS' ASSETS; (B) ESTABLISHING STALKING HORSE
          BIDDERS AND BID PROTECTIONS; (C) APPROVING PROCEDURES OF
            THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
               CONTRACTS AND UNEPIRED LEASES; (D) AUTHORIZING
         ENFORCEMENT ACTIONS; (E) SCHEDULING AN AUCTION AND A SALE
         HEARING; AND (F) APPROVING THE FORM AND MANNER OF NOTICE
           THEREOF; AND (II)(A) APPROVING THE SALE OF THE PURCHASED
             ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, INTERESTS,
             AND ENCUMBRANCES; AND (B) GRANTING RELATED RELIEF
STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

              DAWN PERSON, being duly sworn, deposes and says: deponent is not a
party to the action, is over 18 years of age and resides in Bedford Hills, New York.

               On December 31, 2021, deponent served a copy of the Notice of Hearing and
Debtors’ Application for Entry of Orders: (I)(A) Approving Bidding Procedures Relating to the
Sale of Substantially All of the Debtors' Assets; (B) Establishing Stalking Horse Bidders and Bid
Protections; (C) Approving Procedures of the Assumption and Assignment of Certain Executory

1
    The Debtors in these Chapter 11 cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.
21-12075-dsj     Doc 25    Filed 01/04/22 Entered 01/04/22 09:11:42          Main Document
                                         Pg 2 of 6



Contracts and Unexpired Leases; (D) Authorizing Enforcement Actions; (E) Scheduling an
Auction and a Sale Hearing; and (F) Approving the Form and Manner of Notice thereof; and
(II)(A) Approving the Sale of the Purchased Assets Free and Clear of All Liens, Claims,
Interests, and Encumbrances; and (B) Granting Related Relief along with its underlying exhibits
thereto [Docket No. 21] upon the parties on the service list annexed hereto by electronic
transmission.

                                                          /s/Dawn Person
                                                          DAWN PERSON

Sworn to before me this
3rd day of January 2022

/s/Cynthia Juliano
NOTARY PUBLIC




                                              2
21-12075-dsj   Doc 25    Filed 01/04/22 Entered 01/04/22 09:11:42   Main Document
                                       Pg 3 of 6



            SERVICE LIST FOR NOTICE OF HEARING AND DEBTORS'
       APPLICATION FOR ENTRY OF ORDERS: (I)(A) APPROVING BIDDING
       PROCEDURES RELATING TO THE SALE OF SUBSTANTIALLY ALL OF
          THE DEBTORS' ASSETS; (B) ESTABLISHING STALKING HORSE
       BIDDERS AND BID PROTECTIONS; (C) APPROVING PROCEDURES OF
         THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
            CONTRACTS AND UNEPIRED LEASES; (D) AUTHORIZING
      ENFORCEMENT ACTIONS; (E) SCHEDULING AN AUCTION AND A SALE
      HEARING; AND (F) APPROVING THE FORM AND MANNER OF NOTICE
        THEREOF; AND (II)(A) APPROVING THE SALE OF THE PURCHASED
          ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, INTERESTS,
       AND ENCUMBRANCES; AND (B) GRANTING RELATED RELIEF

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21-12075-dsj   Doc 25     Filed 01/04/22 Entered 01/04/22 09:11:42   Main Document
                                        Pg 4 of 6



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21-12075-dsj    Doc 25    Filed 01/04/22 Entered 01/04/22 09:11:42   Main Document
                                        Pg 5 of 6




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21-12075-dsj   Doc 25   Filed 01/04/22 Entered 01/04/22 09:11:42   Main Document
                                      Pg 6 of 6



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